        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 1 of 70



                       IN THE UNITED STATES DISTRICT COURT

                    FOR THE EASTERN DISTRICT OF PENNSYLVANIA

UNITED STATES OF AMERICA                      :

               v.                             :       CRIMINAL NO. 19-548

DIMITRE HADJIEV                               :


            GOVERNMENT=S REVISED PROPOSED JURY INSTRUCTIONS

       The United States of America, by its attorneys, Jacqueline C. Romero,

United States Attorney for the Eastern District of Pennsylvania, K.T. Newton, Assistant United

States Attorney for the district, respectfully submits the following proposed revised jury

instructions pursuant to Federal Rule of Criminal Procedure 30 and requests leave to file any

supplemental instructions as may appear necessary and proper.

                                              Respectfully submitted,

                                              JACQUELINE C. ROMERO
                                              United States Attorney


                                               /s K.T. Newton
                                              K. T. NEWTON
                                              Assistant United States Attorney

Date: November 20, 2022




                                                  1
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 2 of 70



GOVERNMENT=S REVISED PROPOSED JURY INSTRUCTIONS - AMENDMENTS
       The following instructions have been revised or added:

Gov’t Request 6 – amended to reflect trial evidence

Gov’t Request 7 – amended in response to defendant’s objection

Gov’t Request 8 – amended to better reflect nature of the indictment

Gov’t Request 10 – amended to correct typographical error

Gov’t Request 12 – amended to include witness names

Gov’t Request 13 – amended to reflect that audio recordings were in English language

Gov’t Request 14 – amended to reflect multiple recordings

Gov’t Request 15 – amended in response to defendant’s objection and to remove
       Special Agent Eric Updoke as an expert witness

Original Gov’t Request 16 – removed to reflect that no lay witnesses gave opinion testimony

Gov’t Request 16 (current) – amended to reflect summary chart was for bank deposit records

Gov’t Request 17 (added) - Charts and Summaries - Underlying Evidence Not Admitted

Gov’t Request 18 – amended to reflect stipulation entered by the parties

Original Gov’t Request 19 – removed to reflect that no issue of defects in chain of custody was
       raised

Gov’t Request 19 (had been #20) – amended to reflect trial evidence

Gov’t Request 20 (original) – removed to reflect trial evidence

Gov’t Request 21 (original – was removed to reflect trial evidence

Gov’t Request 20 (had been #22) – witness name added

Gov’t Request 21 (had been #23) – witness names added

Gov’t Request 22 (had been #24) – witness names added

Gov’t Request 23 (had been #25) – defendant’s name added

Gov’t Request 24 (had been #26) – no change
                                                2
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 3 of 70




Gov’t Request 25 (had been #27) – witness names added, “allegedly” added to “represented as
       stolen” and “removing the serial number”

Gov’t Request 26 (had been #28) – “and other FBI Special Agents” added to “FBI Task Force
       Officer John Benham”

Gov’t Request 27 (had been #29) – no change

Gov’t Request 28 (had been #30) – no change

Gov’t Request 29 (had been #31) – no change

Gov’t Request 30 (had been #32) – no change

Gov’t Request 31 (had been #33) – no change

Gov’t Request 32 (had been #34) – last sentence amended to read “The term ‘financial
       institution’ includes a bank insured by the Federal Deposit Insurance Corporation, known
       as the FDIC.”

Gov’t Request 33 (had been #35) – no change

Gov’t Request 34 (had been #36) – no change

Gov’t Request 35 (had been #37) – no change

Gov’t Request 36 (had been #38) – no change

Gov’t Request 37 (had been #39) – no change

Gov’t Request 38 (had been #40) – no change
Gov’t Request 39 (added) – in response to defense objection - Structuring of Financial
       Transactions – The Statute Defining the Offenses Charged
       Under 31 U.S.C. §5324 (Counts 3 and 5 through 24)
Gov’t Request 40 (had been #41) – amended to better reflect elements of charge for 31 U.S.C.
       §5324(a)(3)

Gov’t Request 41 (had been #42) – amended to add “knowingly and willfully” to third element

Gov’t Request 42 (new) – definition of Currency Transaction

Gov’t Request 43 (new) – definition of Structuring

Gov’t Request 44 (new) – Failure of Financial Institution to File Report

                                                3
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 4 of 70



Gov’t Request 45 (new) – Different Branches of the Same Financial Institution

Gov’t Request 46 (had been #43) – no change

Gov’t Request 47 (new) – Intent Requirement of Structuring

Gov’t Request 48 (new) – Motive and Source of Structured Funds

Gov’t Request 49 (had been #44) – no change

Gov’t Request 50 (had been #45) – no change

Gov’t Request 51 (had been #46) – no change

Gov’t Request 52 (had been #47) – title corrected to “Trafficking in Counterfeit Goods –
       Financial Gain Defined”

Gov’t Request 53 (had been #48) – no change

Gov’t Request 54 (had been #49) – no change

Gov’t Request 55 (had been #50) – no change

Gov’t Request 56 (had been #51) – no change

Gov’t Request 57 (had been #52) – no change

Gov’t Request 58 (had been #53) – no change

Original Gov’t Request 54 – removed, as the instruction is covered in the following instruction

Gov’t Request 59 (had been #55) – no change

Gov’t Request 6- (had been #56) – no change




                                                4
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 5 of 70



                                    GOV’T’S REQUEST NO. 6

Witnesses Not Named at Trial
       As you have heard, witnesses generally state their names when they testify. I have

allowed one of the government’s witnesses, the undercover officer, to testify without providing

his name. The anonymity of this witness is related only to the general nature of his work and

related safety concerns




______________________________
         See, e.g., Nelson v. Crowley, 2009 WL 498909, at *5 (S.D.N.Y. Feb.23, 2009) (finding
that allowing an undercover officer to testify anonymously for safety reasons did not violate the
Confrontation Clause's prohibition against anonymous accusers and absentee witnesses).
.




                                               11
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 6 of 70



                                     GOV’T’S REQUEST NO. 7

Presumption of Innocence; Burden of Proof; Reasonable Doubt

            The defendant, Dimitre Hadjiev, pleaded not guilty to the offenses charged. Every

defendant is presumed to be innocent. He started the trial with a clean slate, with no evidence

against him. The presumption of innocence stays with Dimitre Hadjiev unless and until the

government has presented evidence that overcomes that presumption by convincing you that

Dimitre Hadjiev is guilty of the offenses charged beyond a reasonable doubt. The presumption of

innocence requires that you find Dimitre Hadjiev not guilty, unless you are satisfied that the

government has proved guilt beyond a reasonable doubt.

               The presumption of innocence means that Dimitre Hadjiev has no burden or

obligation to present any evidence at all or to prove that he is not guilty. The burden or

obligation of proof is on the government to prove that Dimitre Hadjiev is guilty and this burden

stays with the government throughout the trial.

               In order for you to find Dimitre Hadjiev guilty of the offenses charged, the

government must convince you that that Dimitre Hadjiev is guilty beyond a reasonable doubt.

That means that the government must prove each and every element of the offenses charged

beyond a reasonable doubt. Dimitre Hadjiev may not be convicted based on suspicion or

conjecture, but only on evidence proving guilt beyond a reasonable doubt.

               Proof beyond a reasonable doubt does not mean proof beyond all possible doubt

or to a mathematical certainty. Possible doubts or doubts based on conjecture, speculation, or

hunch are not reasonable doubts. A reasonable doubt is a fair doubt based on reason, logic,

common sense, or experience. It is a doubt that an ordinary reasonable person has after carefully

weighing all of the evidence, and is a doubt of the sort that would cause him or her to hesitate to


                                                  12
           Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 7 of 70



act in matters of importance in his or her own life. It may arise from the evidence, or from the

lack of evidence, or from the nature of the evidence.

                If, having now heard all the evidence, you are convinced that the government

proved each and every element of the offense charged beyond a reasonable doubt, you should

return a verdict of guilty for that offense. However, if you have a reasonable doubt about one or

more of the elements of the offense charged, then you must return a verdict of not guilty of that

offense.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 3.06 (2015).




                                                13
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 8 of 70



                                     GOV’T’S REQUEST NO. 8
Nature of the Indictment

       As you know, defendant Dimitre Hadjiev is charged in the Indictment with violating

federal law, specifically: in Count 1, conducting a financial transaction involving property

represented to be the proceeds of specified unlawful activity, a Rolex watch represented to him

as stolen, in violation of 18 U.S.C. ' 1956(a)(3); in Count 2, failure to file a record of his sale of

that watch for $29,000 in cash, in violation of 31 U.S.C. ' 5324(b)(1); in Count 3, to evade

reporting requirements, structuring cash deposits from that $29,000 sale by making two cash

deposits of $10,000 or less, one on May 9 and one on May 10, 2018, into a bank account he

controlled, in violation of 31 U.S.C. ' 5324(a)(3); Count 4, trafficking in counterfeit Rolex

watches and Rolex watch parts, in violation of 18 U.S.C. ' 2320; Counts 5 through 23,

structuring and attempting to structure cash deposits of more than $10,000 with a domestic

financial institution in a single day into multiple deposits, with each deposit being $10,000 or

less, and causing and attempting to cause the financial institutions to fail to file Currency

Transaction Reports required for currency transactions in excess of $10,000, with more than

$100,000 in structured transactions conducted in a twelve month period, in violation of 31

U.S.C. ' 5324(a)(1) and (d)(2); and Count 24, structuring cash deposits of $10,000 or less in a

single day with domestic financial institutions to evade the financial institutions’ Currency

Transaction Report filing requirement, with more than $100,000 in structured transactions in a

twelve month period, in violation of 31 U.S.C. ' 5324(a)(3) and (d)(2).

               As I explained at the beginning of trial, an indictment is just the formal way of

specifying the exact crimes the defendant is accused of committing. An indictment is simply a

description of the charges against a defendant. It is an accusation only. An indictment is not



                                                  14
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 9 of 70



evidence of anything, and you should not give any weight to the fact that Dimitre Hadjiev has

been indicted in making your decision in this case.

______________________________

       Third Circuit Model Jury Instructions (Criminal) 3.07.




                                               15
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 10 of 70



                                    GOV’T’S REQUEST NO. 9


AOn or About@

               You will note that the indictment charges that the offenses were committed "on or

about" certain dates. The Government does not have to prove with certainty the exact dates of the

alleged offenses. It is sufficient if the Government proves beyond a reasonable doubt that the

offenses were committed on dates reasonably near the dates alleged.




_______________________________

3rd Circuit Model Criminal Jury Instructions, No. 3.08 (2015) (unmodified).




                                               16
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 11 of 70



                                   GOV’T’S REQUEST NO. 10

Venue

               The indictment alleges that some act in furtherance of the offense charged

occurred here in the Eastern District of Pennsylvania. There is no requirement that all aspects of

the offense charged take place here in the Eastern District of Pennsylvania. But for you to return

a guilty verdict, the government must convince you that some act in furtherance of the crime

charged took place here in the Eastern District of Pennsylvania.

               Unlike all the elements that will describe, this fact only has to be proved by a

preponderance of the evidence. This means the government only has to convince you that it is

more likely than not that some act in furtherance of the crime took place here.

               Remember that the government must prove all the elements I will describe

beyond a reasonable doubt.



_______________________________

3rd Circuit Model Criminal Jury Instructions, No. 3.09 (2015) (modified as noted).




                                                17
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 12 of 70



                                     GOV’T’S REQUEST NO. 11

Separate Consideration – Single Defendant Charged with Multiple Offenses

        The defendant Dimitre Hadjiev is charged with several offenses and each offense is

charged in a separate count of the indictment.

        The number of offenses charged is not evidence of guilt, and this should not influence

your decision in any way. You must separately consider the evidence that relates to each

offense, and you must return a separate verdict for each offense. For each offense charged, you

must decide whether the government has proved beyond a reasonable doubt that the defendant is

guilty of that particular offense.

        Your decision on one offense, whether guilty or not guilty, should not influence your

decision on any of the other offenses charged. Each offense should be considered separately.




______________________________

3rd Circuit Model Criminal Jury Instructions, No. 3.12 (2015) (unmodified).




                                                 18
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 13 of 70



                                    GOV’T’S REQUEST NO. 12

Audio/Video Recordings – Consensual

        During the trial you heard audio and video recordings of conversations with defendant

Dimitre Hadjiev made without his knowledge. These recordings were made with the consent and

agreement of Eric Gray, the Undercover Officer, and Ethel Harvey, who were each one of the

other parties to those conversations.

        The use of this procedure to gather evidence is lawful and the recordings may be used by

either party.




______________

        Third Circuit Model Jury Instruction (Criminal) 4.04.




                                               19
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 14 of 70



                                    GOV’T’S REQUEST NO. 13

Audio/Video Recordings - Transcripts

       You have heard audio recordings in the English language that were received in evidence,

and you saw written transcripts of the recordings.

       Keep in mind that the transcripts are not evidence. They were given to you only as a

guide to help you follow what was being said. The recordings themselves are the evidence. If

you noticed any differences between what you heard on the recordings and what you read in the

transcripts, you must rely on what you heard, not what you read. And if you could not hear or

understand certain parts of the recordings you must ignore the transcripts as far as those parts are

concerned.

       The transcripts name the speakers. But remember, you must decide who you actually

heard speaking in the recording. The names on the transcript were used simply for your

convenience.



_______________________________

3rd Circuit Model Criminal Jury Instructions, No. 4.06 (2018) (modified as shown).




                                                20
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 15 of 70



                                   GOV’T’S REQUEST NO. 14

  Transcript of Recording In Foreign Language

       During the trial, you listened to recordings in Bulgarian. You saw a transcript of the

recording which was admitted into evidence. The transcript was a translation of the foreign

language recording.

       Although some of you may know Bulgarian, it is important that all jurors consider the

same evidence. Therefore, you must accept the English translation contained in the transcript and

disregard any different meaning.




_______________________________

3rd Circuit Model Criminal Jury Instructions, No. 4.07 (2018) (modified as shown).




                                               21
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 16 of 70



                                    GOV’T’S REQUEST NO. 15

Opinion Evidence (Expert Witnesses)

       The rules of evidence ordinarily do not permit witnesses to state their own opinions about

important questions in a trial, but there are exceptions to these rules.

       In this case, you heard testimony from Ryan Volker and Marc Esposito.

       Because of his knowledge, skill, experience, training and education with Rolex Watch

U.S.A. in the field of Rolex watch identification and authentication, Mr. Volker was permitted to

offer opinions in that field and the reasons for those opinions.

       Because of his knowledge, skill, experience, training and education with Rolex Watch

U.S.A. in the field of Rolex operations, sales and trademark and brand recognition, Mr. Esposito

was permitted to offer opinions in that field and the reasons for those opinions.

       The opinions these witnesses stated should receive whatever weight you think

appropriate, given all the other evidence in the case. In weighing this opinion testimony you

may consider the witness’ qualifications, the reasons for the witness’ opinions, and the reliability

of the information supporting the witness’ opinions, as well as the other factors discussed in

these instructions for weighing the testimony of witnesses. You may disregard the opinions

entirely if you decide the opinions of Mr. Volker, Mr. Esposito or Special Agent Updike are not

based on sufficient knowledge, skill, experience, training, or education. You may also disregard

the opinions if you conclude that the reasons given in support of those opinions are not sound, or

if you conclude that the opinions are not supported by the facts shown by the evidence, or if you

think that the opinions are outweighed by other evidence.

_______________________________

3rd Circuit Model Criminal Jury Instructions, No. 4.08 (2018) (modified as noted).


                                                 22
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 17 of 70



                                  GOV’T’S REQUEST NO. 16

Charts and Summaries - Underlying Evidence Admitted

       The government presented certain summary charts in order to help explain the facts

disclosed by the bank deposit records of defendant Dimitre Hadjiev which were admitted as

evidence in the case. The summary charts are not themselves evidence or proof of any facts. If

the summary charts do not correctly reflect the evidence in the case, you should disregard them

and determine the facts from the underlying evidence.



_________________

       3rd Circuit Model Criminal Jury Instructions, No. 4.08 (2018) (modified as noted).




                                               23
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 18 of 70



                                  GOV’T’S REQUEST NO. 17

Charts and Summaries - Underlying Evidence Not Admitted (F.R.E. 1006)

       A summary chart offered by the government was admitted into evidence. You may use

that summary chart as evidence, even though the recordings of all of the watch examinations

conducted by Ryan Volker have not been admitted into evidence.



_________________

       3rd Circuit Model Criminal Jury Instructions, No. 4.08 (2018) (modified as noted).




                                              24
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 19 of 70



                                   GOV’T’S REQUEST NO. 18

Stipulations of Fact

       The Government and the defendant have agreed that TD Bank, Wells Fargo Bank and

Citizens Bank were all insured by the Federal Deposit Insurance Corporation between January 1,

2015 and December 31, 2018. You should therefore treat these facts as having been proved.

You are not required to do so, however, since you are the sole judge of the facts.



_______________

       Third Circuit Model Jury Instruction (Criminal) 4.02 (modified as noted).




                                                25
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 20 of 70




                                   GOV’T’S REQUEST NO. 19

Credibility of Witnesses B Law Enforcement Officer

               You have heard the testimony of law enforcement officers. The fact that a witness

is employed as a law enforcement officer does not mean that his or her testimony necessarily

deserves more or less consideration or greater or lesser weight than that of any other witness.

               You must decide, after reviewing all the evidence, whether you believe the

testimony of the law enforcement witness and how much weight, if any, it deserves.



__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.18 (2018) (unmodified).




                                                26
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 21 of 70



                                  GOV’T’S REQUEST NO. 20

Impeachment of Witness - Prior Bad Acts (F.R.E. 608(b))

       You heard evidence that Rahman Halimi, a witness, committed bank robberies.

You may consider this evidence, along with other pertinent evidence, only in deciding

whether to believe Rahman Halimi and how much weight to give his testimony.



   __________________

3rd Circuit Model Criminal Jury Instructions, No. 4.24 (2018) (modified as noted).




                                              27
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 22 of 70



                                   GOV’T’S REQUEST NO. 21

Impeachment of Witness - Prior Conviction (F.R.E. 609)

       You heard evidence that Eric Gray, Ethel Harvey and Rahman Haliami, witnesses, were

previously convicted of crimes involving dishonesty or false statement). You may consider this

evidence, along with other pertinent evidence, in deciding whether or not to believe Eric Gray,

Ethel Harvey or Rahman Halimi and how much weight to give to Eric Gray, Ethel Harvey and

Rahman Haliami’s testimony.



   __________________

   3rd Circuit Model Criminal Jury Instructions, No. 4.25 (2018) (modified as noted).




                                               28
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 23 of 70



                                   GOV’T’S REQUEST NO. 22

Credibility of Witnesses - Cooperating Witnesses

       You have heard evidence that witnesses Eric Gray and Rahman Halimi made a plea

agreement with the government, and that witness Ethel Harvey received a benefit from the

government, in exchange for their participation in the investigation and testimony.

       Their testimony was received in evidence and may be considered by you. The

government is permitted to present the testimony of individuals who have reached a plea bargain

with the government or received a benefit from the government in exchange for their testimony,

but you should consider the testimony of Eric Gray, Rahman Halimi and Ethel Harvey with great

care and caution. In evaluating the testimony of Eric Gray, Rahman Halimi and Ethel Harvey,

you should consider these factors along with the others I have called to your attention. Whether

or not the testimony of Eric Gray or Rahman Halimi may have been influenced by the plea

agreement or whether or not the testimony of Ethel Harvey may have been influenced by the

benefit she received is for you to determine. You may give their testimony such weight as you

think it deserves.



__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.19 (2018) (modified as noted).




                                               29
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 24 of 70




                                    GOV’T’S REQUEST NO. 23

Defendant=s Choice not to Testify or Present Evidence

           Defendant Dimitre Hadjiev did not testify (did not present evidence) in this case. A

defendant has an absolute constitutional right not to testify (or to present any evidence). The

burden of proof remains with the prosecution throughout the entire trial and never shifts to a

defendant. A defendant is never required to prove that he is innocent. You must not attach any

significance to the fact that a defendant did not testify. You must not draw any adverse inference

against a defendant because he did not take the witness stand. Do not consider, for any reason at

all, the fact that defendant Dimitre Hadjiev did not testify. Do not discuss that fact during your

deliberations or let it influence your decision in any way.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.27 (2018) (modified as shown).




                                                30
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 25 of 70



                                    GOV’T’S REQUEST NO. 24

Defendant=s Testimony

           In a criminal case, a defendant has a constitutional right not to testify. However, if he

chooses to testify, he is, of course, permitted to take the witness stand on his own behalf. In this

case, defendant Dimitre Hadjiev testified. You should examine and evaluate his testimony just as

you would the testimony of any witness.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.28 (2018) (modified as shown).




                                                 31
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 26 of 70



                                    GOV’T’S REQUEST NO. 25

Defendant's Prior Bad Acts or Crimes (F.R.E. 404(b))

       You have heard and saw evidence testimony about the following:

   1. Video recording of a meeting between Eric Gray and defendant Dimitre Hadjiev on April 17,
      2017, and testimony of Eric Gray and law enforcement officers about that meeting during
      which Eric Gray sold Hadjiev two Rolex watches that he allegedly represented as stolen.
   2. Video recording of two meetings between Eric Gray and defendant Dimitre Hadjiev on
      October 20, 2017, and testimony of Eric Gray and law enforcement officers about those
      meetings during which Eric Gray sold Hadjiev two Rolex watches that he allegedly
      represented as stolen.
   3. Audio recording of a meeting between Eric Gray, the Undercover Officer and defendant
      Dimitre Hadjiev on February 6, 2018, and testimony of the Undercover Officer and law
      enforcement officers about this meeting during which Eric Gray introduced the Undercover
      Officer to Dimitre Hadjiev and the Undercover Officer offered watches allegedly represented
      as stolen for sale to Hadjiev.
The evidence of these acts was admitted for limited purposes – for the purpose of deciding, with

respect to the acts for which Hadjiev is on trial in Counts One through Three: (a) whether Dimitre

Hadjiev knew that Eric Gray and the Undercover Officer offered watches represented as stolen for

sale and that serial numbers of stolen watches were a concern; (b) whether Dimitre Hadjiev intended

to engage in the business of buying stolen Rolex watches for cash for as low a price as he could

negotiate and to buy additional stolen watches; (c) whether Dimitre Hadjiev understood the coded

language used during those meetings; and (d) whether Dimitre Hadjiev did not commit the acts with

which he is charged in the Indictment in Counts One through Three by accident or mistake. Do not

consider this evidence for any other purpose.




                                                 32
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 27 of 70



       You also have heard and saw evidence testimony about the following:

   4. Testimony of the Undercover Officer about a conversation during a meeting between the
      Undercover Officer and defendant Dimitre Hadjiev on April 26, 2018 in which Hadjiev told
      the Undercover Officer that he needed a Rolex Sky Dweller for a client who wanted that
      watch, and September 18, 2018 text messages between the Undercover Officer and Dimitre
      Hadjiev concerning a Rolex Sky Dweller watch.
   5. Video recording of two meetings between the Undercover Officer and defendant Dimitre
      Hadjiev on January 23, 2019 and testimony of the Undercover Officer and law enforcement
      officers about those meetings during which the Undercover Officer sold Hadjiev three Rolex
      watches that he represented as stolen, one of which was a Rolex Sky Dweller.
The evidence of these acts was also admitted for limited purposes – for the purpose of deciding, with

respect to the acts for which Dimitre Hadjiev is on trial in Counts One through Three: (a) whether

Dimitre Hadjiev intended to engage in the business of buying stolen Rolex watches for cash for as

low a price as he could negotiate; (b) whether Dimitre Hadjiev’s motive in purchasing stolen Rolex

watches was to make a profit from the sale of those watches; and (c) whether Dimitre Hadjiev did not

commit the acts with which he is charged in the Indictment in Counts One through Three by accident

or mistake. Do not consider this evidence for any other purpose.


   6. Text messages from February 1, 2016, March 31, 2016, and June 6, 2016 between defendant
      Dimitre Hadjiev with J.G., an individual identified as “Kika,” discussing serial numbers in
      the sale of high-end watches.

This evidence of these acts was also admitted only for limited purposes - for the purpose of

deciding, with respect to the acts for which Dimitre Hadjiev is on trial in Counts One through

Three: whether Hadjiev’s motive for allegedly removing the serial number on a watch sold to

him by the Undercover Officer and then sold by him to Ethel Harvey was because of his concern

with serial numbers on watches, and his knowledge that those watches can be tracked and

identified as stolen through their serial numbers. Do not consider this evidence for any other

purpose.




                                                 33
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 28 of 70




   7. Text message from March 6, 2016, discussing Hadjiev’s sale of Rolexes with fake
      bracelets.

       This evidence of this act was also admitted only for a limited purpose - for the purpose of

deciding, with respect to the acts for which Dimitre Hadjiev is on trial in Count Four: (a) whether

Dimitre Hadjiev knew that Rolex watch parts he sold were counterfeit; (b) that Dimitre Hadjiev

intended to sell watches with counterfeit parts; and (c) whether Dimitre Hadjiev did not commit

the acts with which he is charged in the Indictment in Count Four by accident or mistake.    Do

not consider this evidence for any other purpose.

       Of course, it is for you to determine whether you believe this evidence and, if you do

believe it, whether you accept it for the purpose offered. You may give it such weight as you

feel it deserves, but only for the limited purposes that I described to you.

       Defendant Dimitre Hadjiev is not on trial for committing these other acts. You may not

consider the evidence of these other acts as a substitute for proof that the defendant committed

the crimes charged. You may not consider this evidence as proof that the defendant has a bad

character or any propensity to commit crimes. Specifically, you may not use this evidence to

conclude that because the defendant may have committed the other acts, he must also have

committed the acts charged in the indictment.

       Remember that defendant Dimitre Hadjiev is on trial here only for the acts charged in the

Indictment, not for these other acts. Do not return a guilty verdict unless the government proves

the crimes charged in the Indictment beyond a reasonable doubt.


_____________________________


       Third Circuit Model Jury Instructions (Criminal) 4.29 (modified for facts)

                                                 34
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 29 of 70



                                   GOV’T’S REQUEST NO. 26

Prior Statement of Defendant - Single Defendant on Trial

       The government introduced evidence that the defendant Dimitre Hadjiev made statements

to FBI Task Force Officer John Benham, and other FBI Special Agents. You must decide

whether Dimitre Hadjiev did in fact make those statements. If you find that Dimitre Hadjiev did

make the statements, then you must decide what weight, if any, you feel the statement deserves.

In making this decision, you should consider all matters in evidence having to do with the

statements, including those concerning Dimitre Hadjiev himself and the circumstances under

which the statement was made.

       If, after considering the evidence, you determine that a statement, was made voluntarily,

you may give it such weight as you feel it deserves under the circumstances. On the other hand,

if you determine that the statement was not made voluntarily, you must disregard it. In

determining whether any alleged statement was made voluntarily, you should consider Dimitre

Hadjiev’s age, training, education, occupation, and physical and mental condition, and his

treatment while in custody or under interrogation as shown by the evidence in the case. Also

consider all other circumstances in evidence surrounding the making of the alleged statement.



__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.32 (2018) (modified as noted).




                                               35
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 30 of 70



                                   GOV’T’S REQUEST NO. 27

Impeachment of Defendant - Prior Bad Acts (F.R.E. 608(b))

          You heard evidence that the defendant Dimitre Hadjiev on a previous occasion

committed (describe bad act elicited on cross-examination of defendant). You may consider that

evidence only to help you decide whether to believe Dimitre Hadjiev’s testimony and how much

weight to give it. That evidence does not mean that Dimitre Hadjiev committed the crime

charged here, and you must not use that evidence as any proof of the crime charged in this case.


__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.35 (2018) (modified as noted).




                                               36
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 31 of 70



                                   GOV’T’S REQUEST NO. 28

Impeachment of Defendant - Prior Inconsistent Statement Not Taken in Violation of
Miranda

       You will recall that Dimitre Hadjiev testified during the trial on his own behalf. You will

also recall that there was evidence that Dimitre Hadjiev made certain statements before trial.

(Describe the statements to differentiate it from those admitted just to impeach.) These earlier

statement(s) by Dimitre Hadjiev were brought to your attention in part to help you decide if you

believe what the defendant testified to here in court. If you find that Dimitre Hadjiev once said

something different, then you should decide if what he said here in court was true. In addition,

however, you may consider the earlier statements as evidence of Dimitre Hadjiev’s guilt.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.38 (2018) (modified as noted).




                                                37
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 32 of 70



                                    GOV’T’S REQUEST NO. 29

Defendant’s Character Evidence

          You have heard (reputation)(opinion)(reputation and opinion) evidence about

whether defendant Dimitre Hadjiev has a character trait for (name trait, such as truthfulness,

peacefulness, honesty, being a law-abiding citizen, etc.).

          You should consider this character evidence together with and in the same way as all

the other evidence in the case in deciding whether the government has proved the charges)

beyond a reasonable doubt.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.39 (2018) (modified as noted).




                                                38
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 33 of 70



                                     GOV’T’S REQUEST NO. 30
Impeachment of Defendant’s Character Witness

            If character witness testified to reputation: You heard (name of witness) testify about

the defendant’s reputation for (insert character trait covered by testimony). On cross-examination

of (name of witness), the prosecutor asked (him)(her) some questions about whether (he)(she) had

heard that (briefly describe the subject of the cross-examination on the character trait, e.g.,

defendant was convicted of fraud on an earlier occasion). The prosecutor was allowed to ask

these questions only to test whether (name of witness) was familiar with the reputation of the

defendant in the community. This is not evidence that the acts described in these questions

actually occurred.

            You may not use the information developed by the prosecutor on this subject for any

other purpose. Specifically, you may not use this information to conclude that the defendant

committed the act(s) charged in the indictment or as proof that the defendant has a bad character

or any propensity to commit crimes.

            If character witness testified to opinion: You heard (name of witness) testify about the

defendant’s character for (insert character trait covered by testimony). On cross-examination of

(name of witness), the prosecutor asked (him)(her) some questions about whether (he)(she) knew

that (briefly describe the subject of the cross-examination on the character trait, e.g., defendant

was convicted of fraud on an earlier occasion). The prosecutor was allowed to ask these

questions only to test whether (name of witness) had a good basis for (his)(her) opinion of the

defendant’s character. This is not evidence that the acts described in these questions actually

occurred.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 34 of 70



   You may not use the information developed by the prosecutor on this subject for any other

purpose. Specifically, you may not use this information to conclude that the defendant committed

the act(s) charged in the indictment or as proof that the defendant has a bad character or any

propensity to commit crimes.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 4.40 (2018) (unmodified).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 35 of 70



                                     GOV’T’S REQUEST NO. 31

Money Laundering-Sting - Elements of the Offense (18 U.S.C. §1956(a)(3)(B))

       Count 1 of the Indictment charges defendant Dimitre Hadjiev with conducting a financial

transaction involving property represented to be the proceeds of specified unlawful activity,

which is a federal crime.

       In order to find Dimitre Hadjiev guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

       First, that, on or about the date alleged in the Indictment, Dimitre Hadjiev conducted a
financial transaction, which affected interstate commerce;
       Second, that the property involved in the financial transaction was represented by a law
enforcement officer to be the proceeds of specified unlawful activity, that is, the receipt of stolen
property worth $5,000 or more, that had been transported interstate;
       Third, that Dimitre Hadjiev believed that the transaction involved the proceeds of some
form of unlawful activity;
       Fourth, Dimitre Hadjiev acted with the intent either to conceal or disguise the nature,
location, source, ownership, or control of the property which he believed to be the proceeds of
specified unlawful activity, that is, the receipt of stolen property worth $5,000 or more, that had
been transported interstate.
       I shall discuss with you the law relating to this charge.


______________________________

       See Third Circuit Model Jury Instructions (Criminal) 6.18.1956A; 18 U.S.C.§ 1956(a)(3).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 36 of 70



                                    GOV’T’S REQUEST NO. 32

Money Laundering-Sting – Conducting a Financial Transaction Defined

       The first element the government must prove beyond a reasonable doubt is that Dimitre

Hadjiev conducted a financial transaction.

       The term “conducts” includes initiating, concluding, or participating in, initiating, or

concluding a transaction.

       The term “transaction” includes a purchase or sale and, with respect to a financial

institution, includes the deposit, withdrawal, transfer between accounts, or any other payment,

transfer, or delivery by, through, or to a financial institution by whatever means effected.

       The term “financial transaction” means any “transaction,” as I just explained that term,
which involves the use of a financial institution which is engaged in, or the activities of which
affect, interstate or foreign commerce in any way or degree.


       The term Afinancial institution@ includes a bank insured by the Federal Deposit Insurance

Corporation, also known as the FDIC.



______________________________

       See Third Circuit Model Jury Instruction (Criminal) 6.18.1956-1; 18 U.S.C. ' 1956(c)(2);
18 U.S.C. ' 1956(c)(4); 31 U.S.C. ' 5312(a)(2).
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 37 of 70



                                    GOV’T’S REQUEST NO. 33

Money Laundering-Sting – Interstate Commerce Defined

        The term “interstate commerce,” as used in these instructions, means commerce between

any combination of states, territories or possessions of the United States.

        In determining whether the government has proven the interstate or foreign commerce

element, only a minimal effect on interstate or foreign commerce is required. As to each financial

transaction, the ways in which the government can prove that the financial transaction affected

interstate commerce include: (a) if the government proves beyond a reasonable doubt that the

funds which were involved in the financial transaction were withdrawn from an FDIC

insured bank; or (b) if the government proves beyond a reasonable doubt that the funds which

were involved in the financial transaction were subsequently deposited into an FDIC insured

bank.



______________________________

        See Third Circuit Model Jury Instruction (Criminal) 6.18.1956-2; United States v.
Benjamin, 252 F.3d 1, 9 (1st Cir. 2001) (banks= FDIC certificate sufficient to establish that
transactions involving bank had at least a de minimis effect on interstate commerce); United
States v. Peay, 972 F.2d 71, 74-75 (4th Cir. 1992) (same); see also United States v. Oliveros, 275
F.3d 1299 (11th Cir. 2001) (interstate commerce nexus for financial transactions established
because FBI=s bank, from which funds for transaction came, was engaged in business in interstate
commerce); United States v. Laurenzana, 113 F.3d 689, 692 & n. 1 (7th Cir.1997) (reiterating
“that the connection to interstate commerce required for a money-laundering offense need only be
‘incidental’ to the transaction”).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 38 of 70



                                    GOV’T’S REQUEST NO. 34

Money Laundering-Sting – Belief that Property Represents Proceeds of a Specified
Unlawful Activity

       The third element that the government must prove beyond a reasonable doubt is that in

conducting a financial transaction Dimitre Hadjiev believed that the property involved in the

financial transaction represented the proceeds of some form of unlawful activity. To satisfy this

element, the government must prove that Dimitre Hadjiev believed the property involved in the

transaction represented proceeds from some form of unlawful activity, that is a felony offense

under state, federal, or foreign law. The government is not required to prove that Dimitre Hadjiev

knew what the unlawful activity was.

       In this case, the government claims that that the property was proceeds derived from

unlawful activity, that is, receipt of stolen property worth $5,000 or more that had been

transported interstate, which is a felony under federal law.



______________________________

       See Third Circuit Model Jury Instruction (Criminal) 6.18.1956-4; 18 U.S.C. ' 2315.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 39 of 70



                                     GOV’T’S REQUEST NO. 35

Money Laundering-Sting – Proceeds of a Specified Unlawful Activity Defined

       The term “proceeds,” as used in these instructions, means any property, or any interest in

property, that someone acquires or retains as a result of criminal activity.

        I instruct you, as a matter of law, that the receipt, possession, sale or disposal of goods

with a value of $5,000 or more, which have crossed a state boundary after having been stolen, is a

specified unlawful activity.



______________________________

       See Third Circuit Model Jury Instruction (Criminal) 6.18.1956-3; 18 U.S.C. ' 1956(c)(7);
18 U.S.C. ' 1961(1)(B).
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 40 of 70



                                      GOV’T’S REQUEST NO. 36
Money Laundering-Sting – Representation by Undercover Officer that Property is Proceeds
of a Specified Unlawful Activity

        The representation by a law enforcement officer that the property involved in the financial

transaction was the proceeds of specified unlawful activity does not need to be an express

representation. Instead, the representation can be either express or implied. The representation

by the law enforcement officer is sufficient if the law enforcement officer made the defendant

aware of circumstances from which a reasonable person would infer that the property was the

proceeds of specified unlawful activity.



______________________________

         See, e.g., United States v. Nelson, 66 F.3d 1036, 1041 (9th Cir. 1995); United States v.
Starke, 62 F.3d 1374, 1382 (11th Cir. 1995) (to satisfy representation element of 18 U.S.C.
§ 1956(a)(3), government need only prove that law enforcement officer or other authorized person
made defendant aware of circumstances from which reasonable person would infer that property
was drug proceeds); United States v. Jensen, 69 F.3d 906, 911 (8th Cir. 1995) (representation by
undercover officer that money is drug money may be implied by officer); United States v. Arditti,
955 F.2d 331, 339 (5th Cir. 1992) (undercover agent not required to expressly Arecite the alleged
illegal source of [the] . . . property at the time he attempts to transfer it in a >sting= operation@); see
also United States v. Wydermyer, 51 F.3d 319, 327–28 (2d Cir.1995) (“fact-specific” inquiry
whether agent's statements sufficiently convey that money to be laundered derived from a
specified offense).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 41 of 70



                                     GOV’T’S REQUEST NO. 37
Money Laundering-Sting – Intent to Conceal or Disguise Defined

       The final element that the government must prove beyond a reasonable doubt is that

defendant Dimitre Hadjiev, in conducting the financial transaction, intended to conceal or

disguise the nature, the source, the ownership, or the control of the proceeds of the specified

unlawful activity, that is, the receipt, possession, sale or disposal of goods with a value of $5,000

or more, which have crossed a state boundary after having been stolen.

       Whether Dimitre Hadjiev knew that the purpose of the financial transaction was to conceal

or disguise the nature, location, source, ownership or control of the proceeds of the specified

criminal activity may be established by proof of Dimitre Hadjiev’s actual knowledge; by

circumstantial evidence; or by the defendant’s willful blindness or purposeful ignorance. In other

words, you are entitled to find from the circumstances surrounding the financial transaction the

purpose of that activity and Dimitre Hadjiev’s knowledge.



______________________________

       See Third Circuit Model Jury Instruction (Criminal) 6.18.1956-5
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 42 of 70



                                     GOV’T’S REQUEST NO. 38
Failure to File Record of Financial Transaction - Elements of the Offense
(18 U.S.C. §1956(a)(3)(B))

       Count 2 of the Indictment charges defendant Dimitre Hadjiev with , the failure to file a

record of a financial transaction, which is a federal crime.

       In order to find Dimitre Hadjiev guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

       First, that Dimitre Hadjiev knew of the requirement for a nonfinancial business to report

receipt of more than $10,000 in cash in one transaction or two or more related transactions; and

       Second, that, on or about the date alleged in the Indictment, Dimitre Hadjiev knowingly

caused or attempted to cause a nonfinancial business not to file a report of a cash transaction of

more than $10,000, for the purpose of evading this reporting requirement.



______________________________

       See 31 U.S.C. ' 5324(b)(1).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 43 of 70




                                     GOV’T’S REQUEST NO. 39

Structuring of Financial Transactions – The Statute Defining the Offenses Charged
Under 31 U.S.C. §5324 (Counts 3 and 5 through 24)

         Sections 5324(a)(1) and 5324(a)(3) of Title 31 of the United States Code provide, in

 part, that whoever “for the purpose of evading the reporting requirements of section 5313 (a). .

 . cause(s) or attempt(s) to cause a domestic financial institution to fail to file a report required

 under Section 5313(a) . . . or structure[s] or assist[s] in structuring, or attempt[s] to structure or

 assist in structuring, any transaction with one or more domestic financial institutions . . .@ shall

 be guilty of a crime against the United States.

         Additionally, Section 5324(d) of Title 31 of the United States Code provides, in part,

 that Awhoever violates [Section 5324(a)(1) or Section 5324(a)(3) of Title 31 of the United

 States Code] . . . as part of a pattern of any illegal activity involving more than $100,000 in a

 12-month period . . .” shall be guilty of a crime against the United States.

         Section 5313(a) and its implementing regulations require the filing of a government form

 called a Currency Transaction Report or a CTR. Section 5313(a) of Title 31 of the United States

 Code provides, in part, that “[w]hen a domestic financial institution is involved in a transaction

 for the payment, receipt, or transfer of United States coins or currency . . . in an amount,

 denomination, or amount and denomination [proscribed by the Secretary of the Treasury], the

 institution . . . shall file a report on the transaction [as proscribed by the Secretary of the

 Treasury].”

         Acting under the authority granted by Congress in this statute, the Secretary of

 Treasury adopted Title 31, Code of Federal Regulations §§ 103.22 (b)(1) and (c)(2), which

 provides, in part, “[e]ach financial institution other than a casino shall file a report of each
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 44 of 70



 deposit [and], withdrawal . . ., by, through, or to such financial institution which involves a

 transaction in currency of more than $10,000, except as otherwise provided in this section.


        . . .

        In the case of financial institutions other than casinos, for purposes of this section,

 multiple currency transactions shall be treated as a single transaction if the financial institution

 has knowledge that they are by or on behalf of any person and result in either cash in or cash

 out totaling more than $10,000 during any one business day.”




__________________________
 31 U.S.C. '§ 5324(a) and (d)(2); 31 U.S.C. ' 5313(a); 31 C.F.R. §§ 103.22 (b)(1) and (c)(2)).
      Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 45 of 70




                                   GOV’T’S REQUEST NO. 40

  Structuring of Financial Transactions – Elements of the Offense (31 U.S.C. § 5324(a)(3))
  (Counts 3 and 24)

         Counts 3 and 24 charge defendant Dimitre Hadjiev with structuring transactions with

one or more domestic financial institutions in order to evade the CTR reporting requirements

of the financial institutions.

         As I explained to you, federal law and regulations require that every domestic financial

institution which engages in a currency transaction of over $10,000 must file a Currency

Transaction Report for that transaction. The report must be filed with the Internal Revenue

Service furnishing, among other things, the identity and address of the person engaging in the

transaction, the date of the currency transaction and the amount of the currency transaction.

         For you to find defendant Dimitre Hadjiev guilty of this crime, you must be convinced

that the government has proved each of the following three elements beyond a reasonable

doubt:

         One:   That the defendant knowingly structured a currency transaction;

         Two: That the defendant knew of the domestic financial institution's legal obligation

to report currency transactions in excess of $10,000; and

         Three: That the purpose of the structured currency transaction was to evade that

reporting obligation.


(Adapted from Federal Jury Practice and Instructions, Patten Jury Instructions: Fifth Circuit,
Criminal Cases, § 2.99.
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 46 of 70



                                      GOV’T’S REQUEST NO. 41
Structuring of Financial Transactions - Elements of the Offense (31 U.S.C. §5324(a)(1))

        Counts 5 through 23 of the Indictment charge defendant Dimitre Hadjiev with causing, or

attempting to cause, a financial institution to fail to file a required report, which is a federal crime.

        In order to find Dimitre Hadjiev guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

        First, that Dimitre Hadjiev engaged in one or more transactions at a financial institution;

        Second, that Dimitre Hadjiev had knowledge that a financial institution is required to

report currency transactions in amounts more than $10,000;

        Third, that Dimitre Hadjiev knowingly and willfully structured cash deposits with a

domestic financial institution in a single day, with each deposit less than $10,000, but the total of

the deposits for that day being more than $10,000;

        Fourth, Hadjiev acted with the intent to evade the reporting requirements of the domestic

financial institution.



        .



______________________________

        See 31 U.S.C. ' 5324(a)(1).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 47 of 70



                                    GOV’T’S REQUEST NO. 42

Definition of Currency Transaction

        The term "currency transaction" means the physical transfer of currency from one

 person or entity to another.




_________________________

 Federal Jury Practice and Instructions, Patten Jury Instructions: Fifth Circuit, Criminal Cases,
§ 2.99.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 48 of 70



                                    GOV’T’S REQUEST NO. 43

Definition of Structuring

        A person structures a transaction if that person, acting alone or with others, conducts

 one or more currency transactions in any amount, at one or more financial institutions, on one

 or more days, for the purpose of evading the reporting requirements described earlier.

 Structuring includes breaking down a single sum of currency exceeding $10,000 into smaller

 sums, or conducting a series of currency transactions, including transactions at or below

 $10,000. Illegal structuring can exist even if no transaction exceeded $10,000 at any single

 financial institution on any single day.




_________________________
 Federal Jury Practice and Instructions, Patten Jury Instructions: Fifth Circuit, Criminal Cases,
 § 2.99.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 49 of 70



                                     GOV’T’S REQUEST NO. 44

 Failure of Financial Institution to File Report

           You may find the defendant guilty of unlawfully structuring a transaction whether or

 not the financial institution filed, or failed to file, a true and accurate currency transaction

 report.




________________________________

 Federal Jury Practice and Instructions, Patten Jury Instructions: Seventh Circuit, Criminal
 Cases, Title 31 Offenses.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 50 of 70



                                    GOV’T’S REQUEST NO. 45

Different Branches of the Same Financial Institution


       A financial institution includes all of the different branches of that financial institution.




______________________

United States v. Besmajian, 910 F.2d 1153, 1158 (3d Cir. 1990) (“regulations define a bank as
including its branches); United Sates v. Giancola, 783 F.2d 1549, 1552 (11th Cir. 1986) (same).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 51 of 70



                                     GOV’T’S REQUEST NO. 46

Structuring of Financial Transactions – Aggravated Structuring (31 U.S.C. §5324(d)(2))

       Counts 3 and 5 through 24 of the Indictment charge defendant Dimitre Hadjiev with

aggravated structuring of financial transactions.

       If you find defendant Dimitre Hadjiev guilty on any of Counts 3, or 5 through 24, you

must then determine if Dimitre Hadjiev committed aggravated structuring.

       In order to find that Dimitre Hadjiev committed aggravated structuring, you must find that

the government proved beyond a reasonable doubt that Dimitre Hadjiev engaged in a pattern of

structured transactions, amounting to more than $100,000 of structured cash deposits within a 12

month period.

       .



       .



______________________________

       See 31 U.S.C. ' 5324(d)(2).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 52 of 70



                                   GOV’T’S REQUEST NO. 47

Intent Requirement for Structuring

         You may find that defendant Dimitre Hadjiev knew of the CTR reporting requirement

 and that he intended to evade that requirement based on the actual admissions of Dimitre

 Hadjiev, or by drawing reasonable inferences based on his conduct. In other words, you may

 infer from the manner in which Dimitre Hadjiev conducted his financial transactions – dates,

 times, and places where the transaction occurred and the amount of money involved in each

 transaction – and from statements that he may have made, that Dimitre Hadjiev was aware of the

 CTR reporting requirement and that his purpose was to evade it.

         While the government must prove that the defendant knew of the reporting

 requirement and that he intended to evade it, the government does not have to prove that

 Dimitre Hadjiev knew that evading the requirement was illegal. The defendant’s belief that

 he could lawfully evade the CTR requirement by structuring his transactions is not a defense.



________________________

 31 U.S.C. § 5324; United States v. MacPherson, 424 F.3d 183, 191 (2d Cir. 2005) (holding that
“jury that convicted [defendant] could have reasonably inferred from the fact that the defendant
chose to deposit a quarter-million dollars through a series of thirty-two small transactions, all
under $10,000 that he knew of the reporting requirements applicable to cash transactions over
$10,000 and was intent on avoiding them”); United States v. Pang, 362 F.3d 1187, 1193 (9th Cir.
2004) (after 1994 statutory “amendments, the prosecution needs to prove ‘that there as an intent
to evade the reporting requirement’ but does not need to also prove ‘that the defendant knew that
structuring was illegal’” (citing H.R. Rep. 103-438 at 22 (1994)); United States v. Ahmad, 213
F.3d 805, 809 (4th Cir. 2000) (noting that, “[i]n 1994, Congress amended § 5322 to eliminate the
willfulness requirement with respect to structuring violations under § 5324; United States v.
Ismail, 97 F.3d 50, 56 (4th Cir. 1996) (“[T]he Government will not have to prove that defendants
knew that structuring is illegal to establish a violation of § 5324”); Federal Jury Practice and
Instructions, Patten Jury Instructions: Fifth Circuit, Criminal Cases, § 2.99).
      Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 53 of 70



                                   GOV’T’S REQUEST NO. 48

Motive and Source of Structured Funds

        To prove a structuring offense under Sections 5324(a)(1) or 5324(a)(3), the Government

 need not prove that the structured funds were derived from any illegal source. Nor does the

 Government have to show what motivated the defendant to attempt to evade the reporting

 requirement.




__________________________
 United States v. MacPherson, 424 F.3d 183, 193 (2d Cir. 2005) (noting that “Section 5324 makes
 no reference to the source of the monies at issue or to the reason why a person seeks to avoid CTR
 filings”; rather “[i]ts singular focus is on the method employed to evade that filing requirement,
 i.e., structuring”).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 54 of 70




                                    GOV’T’S REQUEST NO. 49

Trafficking in Counterfeit Goods (18 U.S.C. §2320(a)(1))

       Count 4 of the Indictment charges defendant Dimitre Hadjiev with trafficking in

counterfeit goods.

       In order to find Dimitre Hadjiev guilty of this offense, you must find that the government

proved each of the following elements beyond a reasonable doubt:

       First, that Dimitre Hadjiev trafficked or attempted to traffic in goods or services;

       Third, that Hadjiev knowingly used a “counterfeit mark” on or in connection with such

goods or services; and

       Fourth, that Hadjiev knew that the mark so used was counterfeit.




______________________________

See 18 U.S.C. ' 2320(a)(1); 5th Circuit Pattern Jury Instructions (Criminal Cases) 2.90A.
      Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 55 of 70




                                   GOV’T’S REQUEST NO. 50

Trafficking in Counterfeit Goods – Counterfeit Mark Defined

      The term “counterfeit mark” means “a spurious mark”

                   1. “that is used in connection with trafficking in any goods, …
                      documentation, or packaging of any type or nature”;

                   2. “that is identical with, or substantially indistinguishable from, a mark
                      registered on the principal register in the United States Patent and
                      Trademark Office and in use, whether or not the defendant [Dimitre
                      Hadjiev] knew such mark was so registered”;

                   3. “the use of which is likely to cause confusion, to cause mistake, or to
                      deceive.”

      To meet the definition of a counterfeit mark, the government must show that

             (1)      The counterfeit mark was not genuine or authentic;

             (2)      The counterfeit mark was identical to or substantially indistinguishable

             from a genuine mark owned by another;

             (3)      The genuine mark was registered on the principal register in the United

             States Patent and Trademark Office;

             (4)      The genuine mark had been in use by the mark-holder or its licensee;

             (5)      The counterfeit mark was used “on or in connection with” the defendant’s

                      Dimitre Hadjiev’s goods or services;

             (6)      The counterfeit mark was used “in connection with” the type of goods or

                      services for which the protected mark was registered; and
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 56 of 70



               (7)     The counterfeit mark was used in a manner “likely to cause confusion, to

               cause mistake, or to deceive.”


       The prosecution is not required to prove that the defendant ever had an intent to deceive or

defraud anyone. The government simply has to prove that the use of the spurious trademark is

likely in the future to cause either confusion, mistake or deception of the public in general


____________________________

       See 18 U.S.C. ' 2320(f)(1)(a); Prosecuting Intellectual Property Crimes, Trafficking in
Counterfeit Trademarks, Service Marks, and Certification Marks (4th ed.); United States v. Yamin,
868 F.2d 130, 132 (5th Cir. 1989).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 57 of 70




                                     GOV’T’S REQUEST NO. 51
Trafficking in Counterfeit Goods – Trafficking Defined

       “’[T]he term ‘traffic’ means “to transport, transfer, or otherwise dispose of, to another, for

purposes of commercial advantage or private financial gain, or to make, import, export, obtain

control of, or possess, with intent to so transport, transfer, or otherwise dispose of.”




______________________________

See 18 U.S.C. ' 2320(f)(5).
          Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 58 of 70




                                      GOV’T’S REQUEST NO. 52

Trafficking in Counterfeit Goods – Financial Gain Defined

          “[T]he term ‘financial gain’ includes the receipt, or expected receipt, of anything of

value.”




______________________________

See 18 U.S.C. ' 2320(f)(1)(a); Prosecuting Intellectual Property Crimes, Trafficking in
Counterfeit Trademarks, Service Marks, and Certification Marks (4th ed.).
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 59 of 70




                                     GOV’T’S REQUEST NO. 53
Proof of Required State of Mind – Intentionally, Knowingly, Willfully

        Often the state of mind, such as intent or knowledge, with which a person acts at any

given time cannot be proved directly, because one cannot read another person’s mind and tell

what he or she is thinking. However, Dimitre Hadjiev’s state of mind can be proved indirectly

from the surrounding circumstances. Thus, to determine Dimitre Hadjiev’s state of mind (what

he intended or knew) at a particular time, you may consider evidence about what he said, what he

did and failed to do, how he acted, and all the other facts and circumstances shown by the

evidence that may prove what was in his mind at that time. It is entirely up to you to decide what

the evidence presented during this trial proves, or fails to prove, about Dimitre Hadjiev’s state of

mind.

        You may also consider the natural and probable results or consequences of any acts

Dimitre Hadjiev knowingly did, and whether it is reasonable to conclude that he intended those

results or consequences. You may find, but you are not required to find, that Dimitre Hadjiev

knew and intended the natural and probable consequences or results of acts he knowingly did.

This means that if you find that an ordinary person in Dimitre Hadjiev’s situation would have

naturally realized that certain consequences would result from his actions, then you may find, but

you are not required to find, that Hadjiev did know and did intend that those consequences would

result from his actions. This is entirely up to you to decide as the finders of the facts in this case.

_____________________________

        Third Circuit Model Jury Instructions (Criminal) 5.01.
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 60 of 70




                                     GOV’T’S REQUEST NO. 54
Knowingly

        The offenses of money laundering – sting, failure to file a record of a financial transaction,

structuring of financial transactions and trafficking in counterfeit goods charged in the Indictment

require that the government prove that Dimitre Hadjiev acted “knowingly” with respect to certain

elements of the offenses. This means that the government must prove beyond a reasonable doubt

that Dimitre Hadjiev was conscious and aware of the nature of his actions and of the surrounding

facts and circumstances, as specified in the definition of the offenses charged.

        In deciding whether Dimitre Hadjiev acted “knowingly,” you may consider evidence

about what he said, what he did and failed to do, how he acted, and all the other facts and

circumstances shown by the evidence that may prove what was in Dimitre Hadjiev’s mind at that

time.

        The government is not required to prove that Dimitre Hadjiev knew his acts were against

the law.

_____________________________

        Third Circuit Model Jury Instructions (Criminal) 5.02.
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 61 of 70




                                    GOV’T’S REQUEST NO. 55
Intentionally

        The offense of money laundering - sting charged in the Indictment require that the

government prove that Dimitre Hadjiev acted “intentionally” with respect to certain elements of

the offense. This means that the government must prove beyond a reasonable doubt either that (1)

it was Dimitre Hadjiev’s conscious desire or purpose to act in a certain way or to cause a certain

result, or that (2) Dimitre Hadjiev knew that he was acting in that way or would be practically

certain to cause that result.

        In deciding whether Dimitre Hadjiev acted “intentionally”, you may consider evidence

about what he said, what he did and failed to do, how he acted, and all the other facts and

circumstances shown by the evidence that may prove what was in Dimitre Hadjiev’s mind at that

time.

_____________________________

        Third Circuit Model Jury Instructions (Criminal) 5.03.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 62 of 70




                                     GOV’T’S REQUEST NO. 56
Willful Blindness

       To find Dimitre Hadjiev guilty of money laundering – sting, you must find that the

government proved beyond a reasonable doubt that Hadjiev believed that the Rolex watch that he

sold on May 8, 2018 for $29,000 and that he had purchased from the undercover officer on April

26, 2018 was stolen. In this case, there is a question whether Hadjiev believed that the watch was

stolen. When, as in this case, belief of a particular fact or circumstance is an essential part of the

offense charged, the government may prove that Hadjiev believed that fact or circumstance if the

evidence proves beyond a reasonable doubt that Hadjiev deliberately closed his eyes to what

would otherwise have been obvious to him.

       No one can avoid responsibility for a crime by deliberately ignoring what is obvious.

Thus, you may find that Dimitre Hadjiev believed that the watch he purchased from the

undercover officer on April 26, 2018 and then sold on May 8, 2018 based on evidence which

proves that: (1) Hadjiev believed that that there was a high probability that this circumstance

existed, and (2) Hadjiev consciously took deliberate actions to avoid learning about the existence

of this circumstance.

       You may not find that Dimitre Hadjiev believed that the watch he purchased from the

undercover officer on April 26, 2018 and then sold on May 8, 2018 if you find that the defendant

actually believed that this circumstance did not exist. Also, you may not find that Hadjiev

believed hat the watch he purchased from the undercover officer on April 26, 2018 and then sold

on May 8, 2018 if you find only that Hadjiev consciously disregarded a risk that the circumstance

existed, or that Hadjiev should have known that the circumstance existed, or that a reasonable

person would have known of a high probability that the circumstance existed. It is not enough
        Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 63 of 70



that Dimitre Hadjiev may have been reckless or stupid or foolish, or may have acted out of

inadvertence or accident. You must find that Dimitre Hadjiev subjectively believed there was a

high probability that the watch he purchased from the undercover officer on April 26, 2018 and

then sold on May 8, 2018 was stolen, consciously used deliberate efforts to avoid knowing about

it, and did not actually believe that it did not exist.

_____________________________

      Third Circuit Model Jury Instructions (Criminal) 5.06 [modified to substitute belief for
knowledge].
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 64 of 70




                                    GOV’T’S REQUEST NO. 57
Motive Explained

       Motive is not an element of the offenses with which Dimitre Hadjiev is charged. Proof of

bad motive is not required to convict. Further, proof of bad motive alone does not establish that

Dimitre Hadjiev is guilty and proof of good motive alone does not establish that Dimitre Hadjiev

is not guilty. Evidence of Dimitre Hadjiev motive may, however, help you find his intent.

       Intent and motive are different concepts. Motive is what prompts a person to act. Intent

refers only to the state of mind with which the particular act is done.

       Personal advancement and financial gain, for example, are motives for much of human

conduct. However, these motives may prompt one person to intentionally do something perfectly

acceptable while prompting another person to intentionally do an act that is a crime.

_____________________________

Third Circuit Model Jury Instructions (Criminal) 5.04.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 65 of 70




                                    GOV’T’S REQUEST NO. 58
Jury Recollection Controls

               If any reference by the Court or by counsel to matters of testimony or exhibits does

not coincide with your own recollection of that evidence, it is your recollection which should

control during your deliberations and not the statements of the Court or of counsel.

               You are the sole judges of the evidence received in this case.




_______________________________
1A O=Malley, Grenig & Lee, Federal Jury Practice and Instructions, ' 12.07 (6th ed. 2010)
(unmodified); United States v. Thames, 846 F.2d 200, 204 (3d Cir. 1988)
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 66 of 70



                                     GOV’T’S REQUEST NO. 59

Election of Foreperson; Unanimous Verdict; Do Not Consider Punishment; Duty to
Deliberate; Communication with Court

               That concludes my instructions explaining the law regarding the testimony and

other evidence, and the offenses charged. Now let me explain some things about your

deliberations in the jury room, and your possible verdicts.

               First: The first thing that you should do in the jury room is choose someone to be

your foreperson. This person will speak for the jury here in court. He or she will also preside over

your discussions. However, the views and vote of the foreperson are entitled to no greater weight

than those of any other juror.

               Second: I want to remind you that your verdict, whether it is guilty or not guilty,

must be unanimous. To find a defendant guilty of an offense, every one of you must agree that the

government has overcome the presumption of innocence with evidence that proves each element

of that offense beyond a reasonable doubt. To find a defendant not guilty, every one of you must

agree that the government has failed to convince you beyond a reasonable doubt.

               Third: If you decide that the government has proved a defendant guilty, then it will

be my responsibility to decide what the appropriate punishment should be. You should never

consider the possible punishment in reaching your verdict.

               Fourth: As I have said before, your verdict must be based only on the evidence

received in this case and the law I have given to you. You should not take anything I may have

said or done during trial as indicating what I think of the evidence or what I think your verdict

should be. What the verdict should be is the exclusive responsibility of the jury.

               Fifth: Now that all the evidence is in, the arguments are completed, and once I

have finished these instructions, you are free to talk about the case in the jury room. In fact, it is

your duty to talk with each other about the evidence, and to make every reasonable effort you can

to reach unanimous agreement. Talk with each other, listen carefully and respectfully to each
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 67 of 70



other's views, and keep an open mind as you listen to what your fellow jurors have to say. Do not

hesitate to change your mind if you are convinced that other jurors are right and that your original

position was wrong. But do not ever change your mind just because other jurors see things

differently, or just to get the case over with. In the end, your vote must be exactly that--your own

vote. It is important for you to reach unanimous agreement, but only if you can do so honestly and

in good conscience. Listen carefully to what the other jurors have to say, and then decide for

yourself if the government has proved the defendant guilty beyond a reasonable doubt.

               No one will be allowed to hear your discussions in the jury room, and no record

will be made of what you say. You should all feel free to speak your minds.

               [Remember, if you elected to take notes during the trial, your notes should be used

only as memory aids. You should not give your notes greater weight than your independent

recollection of the evidence. You should rely upon your own independent recollection of the

evidence or lack of evidence and you should not be unduly influenced by the notes of other jurors.

Notes are not entitled to any more weight than the memory or impression of each juror.]

               Sixth: Once you start deliberating, do not talk, communicate with, or provide any

information about this case by any means to the court officials, or to me, or to anyone else except

each other. During your deliberations, you may not use any electronic device or media, such as a

telephone, cell phone, smart phone, iPhone, Blackberry or computer; the internet, any internet

service, or any text or instant messaging service; or any internet chat room, blog, or website such

as Facebook, My Space, LinkedIn, YouTube or Twitter, to communicate to anyone any

information about this case or to conduct any research about this case.

               Seventh: If you have any questions or messages, your foreperson should write

them down on a piece of paper, sign them, and then give them to the court official who will give

them to me. I will first talk to the lawyers about what you have asked, and I will respond as soon

as I can. In the meantime, if possible, continue with your deliberations on some other subject.
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 68 of 70



               [If you want to see any of the exhibits that were admitted in evidence, you may

send me a message and, if I can legally do so, I will have those exhibits provided to you.]

               One more thing about messages. Do not ever write down or tell anyone how you or

anyone else voted. That should stay secret until you have finished your deliberations. If you have

occasion to communicate with the court while you are deliberating, do not disclose the number of

jurors who have voted to convict or acquit on any offense(s).



__________________

3rd Circuit Model Criminal Jury Instructions, No. 3.16 (2015) (unmodified).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 69 of 70



                                     GOV’T’S REQUEST NO. 60

Verdict Form

       A verdict form has been prepared that you should use to record your verdicts.

       Take this form with you to the jury room. When you have reached your unanimous

verdict, the foreperson should write the verdict on the form, date and sign it, return it to the

courtroom and give the form to my courtroom deputy to give to me. If you decide that the

government has proved a defendant guilty of any or all of the offenses charged beyond a

reasonable doubt, say so by having your foreperson mark the appropriate place on the form. If

you decide that the government has not proved a defendant guilty of some or all of the offenses

charged beyond a reasonable doubt, say so by having your foreperson mark the appropriate place

on the form.




__________________

3rd Circuit Model Criminal Jury Instructions, No. 3.17 (2015) (unmodified).
       Case 2:19-cr-00548-CMR Document 257 Filed 11/20/22 Page 70 of 70




                                 CERTIFICATE OF SERVICE

               I hereby certify that a true and correct copy of the Government=s Revised

Proposed Jury Instructions has been served by me, this date, by email or electronic filing upon

the following people:



                        Daniel Cevallos, Esquire
                        Peter Scuderi, Esquire
                        Daniel Pell, Esquire
                        Attorneys for defendant Dimitre Hadjiev



                                             ____/s K.T. Newton_______
                                             K.T. NEWTON
                                             Assistant United States Attorney


DATED: November 20, 2022
